                                                                                 ____ FILED   ___ ENTERED
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                                                               ____ LOGGED                     _____ RECEIVED
                                                                                 2:49 pm, Nov 12 2020
                                                                                 AT BALTIMORE
                        IN THE UNITED STATES DISTRICT COURT                      CLERK, U.S. DISTRICT COURT
                                                                                 DISTRICT OF MARYLAND
                           FOR THE DISTRICT OF MARYLAND                          BY ______________Deputy

                                                                1:20-mj-2835 TMD
 IN THE MATTER OF THE AFFIDAVIT
                                                                1:20-mj-2836 TMD
 IN SUPPORT OF A SEARCH WARRANT                       Case No. ____________________
 AUTHORIZING A DNA SAMPLE
 COLLECTION FROM DAVON COBB                           Filed Under Seal
 AND LADONTE PETTY

      AFFIDAVIT IN SUPPORT OF APPLICATION FOR A SEARCH WARRANT

       I, Eugene Theisen, a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms

and Explosives (ATF), being duly sworn, depose and state as follows:

       1.       The ATF and Baltimore Police Department (BPD) have been investigating Davon

COBB and Ladonte PETTY for a violation of 18 U.S.C. § 922(g) (Possession of a Firearm by a

Prohibited Person) and § 922(j) (Possession of a Stolen Firearm). This affidavit is being submitted

in support of an application for a search warrant pursuant to Federal Rule of Criminal Procedure

41 to obtain samples of DNA for comparison purposes in the form saliva from COBB, a man born

in 1987, assigned an FBI number ending in 1ED0, and depicted in Attachment A-1, and PETTY,

a man born in 1992, assigned an FBI number ending in 7JD5, and depicted in Attachment A-2.

COBB is currently incarcerated at the Maryland Reception Diagnostic and Classification Center

(MRDCC), located at 550 E. Madison Street, Baltimore, Maryland 21202. PETTY is currently on

home detention through Advantage Sentencing Alternative Programs, Inc. & Electronic

Monitoring Services (ASAP), and residing at 1641 Ruxton Avenue, Baltimore, Maryland 21216.

The warrant would authorize members of the ATF, or their authorized representatives, to obtain

DNA contained within saliva samples from COBB, as described in Attachment B-1, and PETTY,

as described in Attachment B-2.

       2.       I submit this affidavit for the limited purpose of securing the requested warrant, and

therefore have not included details of every aspect of this investigation. Rather, I have set forth

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only those facts that I believe are necessary to establish probable cause supporting the warrant. I

have not, however, intentionally omitted any information that would tend to defeat a determination

of probable cause. The information contained in this affidavit is based upon my personal

knowledge, my review of documents and other evidence, and my conversations with other law

enforcement officers and other individuals. All conversations and statements described in this

affidavit are related in substance and in part unless otherwise indicated.

                                   AFFIANT BACKGROUND

       3.       I am currently assigned to a joint task force comprised of ATF agents and detectives

from BPD. I have participated in numerous investigations involving the manufacturing and

distribution of controlled dangerous substances (CDS), violations of federal firearms laws and

illegal firearms trafficking. I have participated in the execution of numerous federal search and

arrest warrants involving CDS and firearms enforcement, participated in the seizure of numerous

firearms and CDS, and investigated violent offenders responsible for commercial armed robberies.

I know, based on training and experience that Deoxyribonucleic Acid (“DNA”) can be found on

items such as clothing and firearms and can be compared to a sample of DNA from a known

person. This comparison can help identify or eliminate suspects. I also know that the Baltimore

Police Department Forensics Lab will not compare firearms swabbed for DNA without a standard

to which to compare.

                                      PROBABLE CAUSE

       4.       On June 24, 2020, at approximately 6:15 pm, Baltimore Police Department (BPD)

officers were monitoring the Instagram account “otm_smootrock” when they observed an

Instagram story which showed two men, later identified as Davon COBB and Ladonte PETTY,

each holding a firearm, with COBB’s firearm having an extended magazine. COBB was in the



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driver’s seat wearing a purple shirt, and PETTY was in the passenger’s seat wearing a light green

shirt with a dark colored hat. Also seen in the video was a large stack of cash located on the center

console in between COBB and PETTY. BPD officers believed that COBB and PETTY were in

a SUV from the size of the vehicle in the video.

       5.       BPD officers continued to monitor the livestream of that account and observed in

the background dwellings that they believed to be located in the 2600 block of Ashland Avenue in

Baltimore, Maryland, based on their knowledge of the area and observable house numbers.

Further, a BPD officer familiar with COBB from prior interactions and investigations in Eastern

District of Baltimore knew him to frequent the Monument Street area just blocks away. Finally,

the officers monitoring that account know that the prefix “otm” is often used with social media

accounts associated with Baltimore to refer to “Out The Mud,” a violent drug trafficking group

centered in the Monument Street area; the 2600 block of Ashland Avenue is two blocks from

Monument Street. BPD officers responded to the 2600 block of Ashland Avenue. BPD officers

observed COBB and PETTY inside a black Infiniti QX60. When BPD officers approached the

vehicle, COBB, operating the vehicle, fled the area at a fast rate of speed, striking a BPD detective.

       6.       BPD officers pursued COBB into the 800 block of North Luzerne Avenue. COBB

collided with another vehicle, rendering both inoperable. PETTY was directed to exit the vehicle

after the collision and placed under arrest, but COBB fled on foot. He was apprehended by BPD

officers and placed under arrest.

       7.       BPD officers searched PETTY, and from his shoulder bag, they recovered a

cellular telephone, a screwdriver, suspected marijuana, and $1,112.97 in worn bills of small

denominations consistent with drug trafficking receipts.

       8.       BPD officers also searched COBB and recovered an Apple Watch from his wrist.



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         9.       Officers then searched the Infiniti operated by COBB and recovered the following:

                  a. From the floor of the driver’s (COBB’s) side of the vehicle, a Smith & Wesson,
                    model M&P40 .40 S&W caliber semi-automatic pistol with serial number
                    HRN0395, which appeared identical to the gun held by COBB in the Instagram
                    video. The pistol had been loaded and was submitted with a Pro Mag .40 caliber
                    Smith & Wesson magazine with a capacity of thirty-three cartridges, which was
                    loaded with twenty-four rounds of ammunition, with another round in the
                    chamber of the pistol;

                 b. From the passenger’s (PETTY’s) side of the vehicle, a Beretta APX .40 S&W
                    caliber semi-automatic pistol with serial number A000374Y, matching generally
                    the gun held by PETTY in the Instagram videos. The pistol was loaded with
                    fifteen rounds of S&W .40 caliber ammunition;

                 c. From both the front and rear passenger area, $4,155 in in worn bills of U.S.
                    currency in small denominations consistent with drug trafficking;

                 d. From the front driver’s (COBB’s) side, two iPhones and one Samsung cell
                    phone;

                 e. In the front console, COBB’s Maryland Identification and credit cards; and

                 f. Suspected marijuana and packaging material in the front driver’s seat, center
                    console, and cup holder.

         10.      After PETTY and COBB were arrested, investigators submitted records queries

for both firearms and discovered that both were reported stolen.1 The Smith & Wesson semi-

automatic pistol matching the one held by COBB in the video and recovered from the driver’s side

of the vehicle was reported stolen out of the center console of a vehicle in Stephens City, Virginia,

on August 13, 2017, under Frederick County Sheriff’s Office case number 17-004304. The Beretta

semi-automatic pistol similar to the one held by PETTY in the video and recovered from the

passenger’s side of the vehicle was part of a burglary from Kinsey’s Outdoors in Mount Joy


1
  I believe that both the firearms meet the definition of a “firearm” under federal law and that each has moved in or
affected interstate commerce. Both originally came from a federal firearms licensee (FFL) in another state, with the
Smith & Wesson pistol being bought by its original owner (from whom it was stolen) at an FFL in Virginia and with
the Beretta pistol being stolen from an FFL in Pennsylvania. Further, both were test fired by the Baltimore Police
Department Firearms Analysis Unit and determined to be operable. Finally, both firearms were stolen from out of
state (Virginia and Pennsylvania) and recovered in Maryland.

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Township, Pennsylvania, on November 18, 2017, in which seventy-two firearms were stolen.2

         11.      Further, the BPD officers learned from the Maryland Gun Center that COBB and

PETTY were prohibited from possessing firearms under Maryland state law due to COBB’s prior

convictions and PETTY’s prior juvenile delinquency adjudications. COBB is also federally

prohibited from possessing a firearm due to a 2015 conviction for Possession with Intent to

Distribute Controlled Dangerous Substances, for which COBB received a 10 year sentence, of

which 9 years and 8 months were suspended. COBB therefore should have known he was

convicted of a crime punishable by more than a year imprisonment.

                                       DNA AUTHORIZATION REQUEST

         12.      Based on my training and experience, I believe that COBB’s and PETTY’s DNA

may be on the firearms recovered during their arrests. A known sample of his DNA is required in

order to test and compare any and all DNA recovered. Accordingly, I am requesting authorization

for a warrant to obtain samples of DNA for comparison purposes in the form of saliva from COBB

and PETTY to compare to the swabs taken from the firearms and magazines that I believe was

possessed by COBB in violation of 18 U.S.C. § 922(g) (Possession of a Firearm by a Prohibited

Person) and by COBB and PETTY, in violation of 18 § 922(j) (Possession of a Stolen Firearm).

         13.      Further, I respectfully request that the Court issue a warrant authorizing members

of the ATF, or their authorized representatives, including but not limited to other law enforcement

agents, to obtain DNA samples from COBB and PETTY so that the DNA sample may be

compared to the swabs taken from evidence recovered in this case.




2
  Firearms reported stolen in this burglary began being recovered in Baltimore less than four months later, with the
first being recovered on December 1, 2017. Four individuals ended up pleading guilty in connection with this and
other firearms thefts in United States v. Tariq White, et al., ELH-18-221.

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       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

                                     ____________________________________________
                                     Eugene Theisen
                                     Special Agent
                                     Bureau of Alcohol, Tobacco, Firearms and Explosives


        Affidavit submitted by email and attested to me as true and accurate by telephone
consistent with Fed. R. Crim. P. 4.1 and 41(d)(3) this _____ day of ____________, 2020.



                                     __________________________________________
                                     The Honorable Thomas M. DiGirolamo
                                     United States Magistrate Judge




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                               ATTACHMENT A-1

                      Photograph of Person to be Searched

                                     Davon COBB
                                      YOB: 1987
Currently residing at: at the Maryland Reception Diagnostic and Classification Center
     (MRDCC), located at 550 E. Madison Street, Baltimore, Maryland 21202
                         Last four digits of FBI number: 1ED0
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                         ATTACHMENT A-2

                 Photograph of Person to be Searched

                              Ladonte PETTY
                                YOB: 1992
  Currently residing at: 1641 Ruxton Avenue, Baltimore, Maryland 21216
                   Last four digits of FBI number: 7JD5
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                                    ATTACHMENT B-1

                              Description of Items to be Seized

       Buccal (oral) swabs of the inside of Davon COBB’s mouth limited to the extent where

sufficient samples of DNA are obtained.
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                                    ATTACHMENT B-2

                              Description of Items to be Seized

       Buccal (oral) swabs of the inside of Ladonte PETTY’s mouth limited to the extent where

sufficient samples of DNA are obtained.
